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                                                                                                    August 2, 2016


   Marcus D. Roberson
   Reg. No. 15124~031
  ·usPLee
   U.S. PENITENTIARY
   P.O. BOX305
   JONESVILLE, VA 24263


   Dear Marcus:

  I am enclosing with this letter a copy of the additional statements from Virok Webb that I
  received in the mail this afternoon. In addition, I wanted to respond to your latest two letters that
  were received over the last couple of days.                                            ·

   As you know I confirmed with your trial counsel that he had indeed received copies of the
   statements at issue from Mr. Webb. Now that I am aware that he received the letters and chose
   not to use them then I do not believe this would fall under the category of newly discovered
   evidence. This information was known but just not used. This would be more in the realm of an
   ineffective assistance of counsel claim that would need to be filed in a potential 2255 habeas
   corpus petition. That would be reviewed and decided after the direct appeal is finalized.

  The court's disfavor filing ineffective assistance of counsel claims on direct appeal. The reason is
  that the underlying factual record for the claims are not fully developed and the court cannot
  therefore make a proper ruling. In this case, there is no factual record regarding the statements
  and why your counsel chose not to engage Mr. Webb to testify on your behalf. That information
  would need to be made part of the record as trial strat~gy is a .relevant consideration for the court.

  You have also raised a couple of additional issues with respect to the application of your prior
  felony drug convictions for controlled substance offenses. First, I am not aware of a procedure
  whereby you could challenge your prior convictions on the basis that you were not informed of
  the potential consequences of your plea. Specifically, you complained that you were never told
  that by pleading guilty that the offense could result in additional penalties if you committed a
  further offense. The court is not required to inform you that if you commit additional crimes that
  your past conduct will be used against you. That is plainly the case and you would have been
  aware of that from the PSI in the prior case. You were sentenced, at least in part, based on your
  prior criminal record. This occurs in every case.

   Further, there was no basis for your attorneys to challenge your prior convictions. Your lawyers
   had an opportunity to object in writing to the filing of the 851 and to challenge the convictions




 600 Broadway Blvd., Suite 670, Kansas City, Missouri 64105   T - (816) 221-8989   F - (816) 945-6340   www.gaddyweis.com
                                             11114./13
     To whomever this concerns, and or Mr. Forrest Lowry,
      I am writing this letter in able sound mind and body with-.
out beirig threatned or cdersed, in order to establish a working·
relationship between my def~nse team_and Mr. Robersons' defense·
team. I will not cooperate against, nor testify againsi Mr.
Roberson in any way or shape. We did not have any illegal dealing
s or arrangements. We share a mutual respect due to the fact we
both have a child by the same person. I firmly believe with both
our defense teams working together to fight this case we will
be able to prevail. The government has often tried to turn us
against one another without success. They also have provided
us with different types of discovery in hppes that it will
get us to plea out or cooperate. Again I will not do this~
We may have evidence or have interviewed people that will be
critical to our defense and yours. So I beg you to consider this
and come to.an understanding that we need each others full cooper
ation. This case has tooken alot of twist and turn~ and I belie-
ve we can win with a joint effort. We both have proclaimed our
innocence throughout this tragic ordeal. Please understand the
ijjustice done to us is not right. I will continue to fight- and
bring light on this bogus case with or without your help. Perfe-
rably witih your help. Thank you.

                    RESPECTFULLY SUBMITTED
                     VIROK WEBB




~\~
~~\t'-0.
                                                            03/09/14

Forrest Lowry,
I am willing to testify in Marcus Robersons defense in his appeal
trial that we had NO illegal drug dealings or he and I had any
parts in the homicide attributed to us. Unfortunetly I was not
able to testify at his trial do to my own case that was pending.
My attorney advise against it continously. Me and Roberson did
not deal in drugs together nor did he ever purchase, re6eive,
or contact me about anything like that. We did not discuss or
plot, or plan any homicide·. I apologize for not being able to
relay this to you sooner. As I said my qttorney prevented me
from doing this for you or Dewberrys attorney. I recently took
a plea so I am free to testify for you and Roberson during his
appeal process. I get sentenced May 27th.
                              RESPECTFULLY SUBMITTED




                                          J-1.     TAMMY L. PERKINS
                                                                 ~·~•e   of Kansas
                                        r..---.. ._. . . . . -.. . . . . -..
                                          • M;
                                                              November 2014
TO: Charles Rogers(Attorney for Marcus D. Roberson),
           I, Virok D. Webb,  V \R.D\fJ~NQ,'Db           , typed this as a truth-
ful and correct Affidavit, and on my own· free will, the information I am ~bout   .
to state is true and accurate. And is willing to testify iri court to this infor- 1




mation I state in this affidavit. I am willing to testify in Marcus D. RobersoH.
defense, that he and I "never" had no agreement in no illegal drug activities.
Mr. Roberson, never conspired together to purchase any kinda of illegal drugs or
any other illegal items,with me or from me. I never sold or gave Mr. Roberson
any kinda of illegal drugs. On June 29,2010, I had a interview with Junction
City, KS JCPD det~ctive Joshua Brown, and during the interview detective J.
Brown asked me specifically about was Mr. Roberson involved in the distribution
me and detective J.Brown was discussing, and when I stated Mr. Roberson was not
involved with me, I was stating the truth. Mr. Roberson has no involvement in
the distribution me and detective J. Brown was discussing. Also me and Mr. Robe-
rson, never discussed,plotted, or plan any homicide. And that goes for the one
we was wrongly accused of. I apologize for not being able to relay this inform-
ation to Mr. Roberson's defense but due to my attorney at the time would not
allow me to testify in Mr. Roberson's defense. I recently took a plea back in
March 2014, so I am free to testify for Mr. Roberson's behalf; because what I
plead out to Mr. Roberson had no involvement with me.

                                           Res1r/f~}ll'C/J~tfitted,
                                              V.irok D. Webb


                                             I:).. CYNTHIA M. COLLINS
                                           ~ Notary Public - State of Kansas
                                           My Appl. Expires b t' ~ -
                                                                   :J.o/ (p


                                           ~i 4 'ut&t;.,




                             Page 1 of 1
